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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

DAKOTA HOLT,                            )
                                        )
      Plaintiff,                        )
                                        )       CIVIL ACTION
v.                                      )
                                        )       FILE No. _____________________
3205 TYSON’S CORNER, LLC,               )
                                        )
      Defendant.                        )

                                    COMPLAINT

      COMES NOW, DAKOTA HOLT, by and through the undersigned counsel,

and files this, his Complaint against Defendant 3205 TYSON’S CORNER, LLC

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

(“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”).

In support thereof, Plaintiff respectfully shows this Court as follows:

                           JURISDICTION AND VENUE

      1.       This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.

      2.       Venue is proper in the federal District Court for the Northern District


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of Georgia, Atlanta Division.

                                      PARTIES

      3.       Plaintiff DAKOTA HOLT (hereinafter “Plaintiff”) is, and has been at

all times relevant to the instant matter, a natural person residing in Marietta,

Georgia (Cobb County).

      4.       Plaintiff is an amputee and is disabled as defined by the ADA.

      5.       Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking, standing, grabbing, grasping and/or pinching.

      6.       Plaintiff cannot walk and uses a wheelchair for mobility purposes.

      7.       Defendant 3205 TYSON’S CORNER, LLC (hereinafter “Defendant”)

is a Georgia limited liability company that transacts business in the state of

Georgia and within this judicial district.

      8.       Defendant may be properly served with process via its registered

agent for service, to wit: Jerry Tillem, 2136 Kingston Court, Marietta, Georgia,

30067.

                            FACTUAL ALLEGATIONS

      9.       On or about June 29, 2020, Plaintiff was a customer at “Jimmy

Mac’s,” a business located at 3205 Canton Road, Marietta, Georgia 30066.


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      10.    Defendant is the owner or co-owner of the real property and

improvements that are the subject of this action. (The contiguous structures and

improvements situated upon said real property shall be referenced herein as the

“Facility,” and said real property shall be referenced herein as the “Property”).

      11.    Plaintiff lives approximately three (3) miles from the Facility and

Property.

      12.    Plaintiff’s access to the business(es) located at 3205 Canton Road,

Marietta, Georgia 30066, Cobb County Property Appraiser’s parcel number

16044400070, and/or full and equal enjoyment of the goods, services, foods,

drinks, facilities, privileges, advantages and/or accommodations offered therein

were denied and/or limited because of his disabilities, and he will be denied and/or

limited in the future unless and until Defendant is compelled to remove the

physical barriers to access and correct the ADA violations that exist at the Facility

and Property, including those set forth in this Complaint.

      13.    Plaintiff has visited the Facility and Property at least once before and

intends on revisiting the Facility and Property once the Facility and Property are

made accessible.

      14.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.


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      15.    Plaintiff travelled to the Facility and Property as a customer and as an

advocate for the disabled, encountered the barriers to his access of the Facility and

Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result

of the illegal barriers to access present at the Facility and Property.

                              COUNT I
                  VIOLATIONS OF THE ADA AND ADAAG

      16.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      17.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      18.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      19.    The Facility is a public accommodation and service establishment.

      20.    The Property is a public accommodation and service establishment.

      21.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      22.    Public accommodations were required to conform to these regulations

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by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      23.    Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      24.    The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      25.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      26.     Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in his capacity as a customer of the Facility and Property,

and as an advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      27.    Plaintiff intends to visit the Facility and Property again in the very


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near future as a customer and as an advocate for the disabled in order to utilize all

of the goods, services, facilities, privileges, advantages and/or accommodations

commonly offered at the Facility and Property, but will be unable to fully do so

because of his disability and the physical barriers to access, dangerous conditions

and ADA violations that exist at the Facility and Property that preclude and/or

limit his access to the Facility and Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those

barriers, conditions and ADA violations more specifically set forth in this

Complaint.

      28.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      29.    Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by

Plaintiff and other persons with disabilities.


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      30.     A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      (a)     EXTERIOR ELEMENTS:

      (i)     The total number of accessible parking spaces on the Property

              is inadequate, in violation of section 208.2 of the 2010 ADAAG

              standards.

      (ii)    The accessible parking space on the Property across the

              vehicular way from Suite 109 of the Facility is missing a proper

              identification sign, in violation of section 502.6 of the 2010

              ADAAG standards.

      (iii)   The accessible parking space on the Property across the

              vehicular way from Suite 109 of the Facility does not have an

              access aisle adjacent to it, in violation of section 502.3 of the

              2010 ADAAG standards.

      (iv)    The ramp on the Property most proximate to Suite 109 of the

              Facility (A) has a slope exceeding 1:12 (one to twelve), in


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       violation of section 405.2 of the 2010 ADAAG standards, (B)

       its side flares have slopes in excess of 1:10 (one to ten), in

       violation of section 406.3 of the 2010 ADAAG standards, and

       (C) the ground surfaces of the ramp’s running surface have

       vertical rises in excess of ¼” (one quarter inch) in height and

       are broken and unstable, in violation of section 405.4 of the

       2010 ADAAG standards.

(v)    The accessible parking space on the Property most proximate to

       Suite 137 of the Facility is missing a proper identification sign,

       in violation of section 502.6 of the 2010 ADAAG standards.

(vi)   The accessible parking space on the Property most proximate to

       Suite 137 Suite 109 of the Facility does not have an access aisle

       adjacent to it, in violation of section 502.3 of the 2010 ADAAG

       standards.

(vii) The ramp on the Property most proximate to Suite 137 of the

       Facility has a slope exceeding 1:12 (one to twelve), in violation

       of section 405.2 of the 2010 ADAAG standards and its side

       flares have slopes in excess of 1:10 (one to ten), in violation of

       section 406.3 of the 2010 ADAAG standards.


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(b)     INTERIOR ELEMENTS:

(i)     The interior of the “G’Angelo’s” portion of the Facility has a

        sales and services counter lacking any portion of which that has

        a maximum height of 36” (thirty-six inches) from the finished

        floor, in violation of section 904.4 of the 2010 ADAAG

        standards.

(ii)    The interior of the “Jimmy Mac’s” portion of the Facility has a

        bar lacking any portion of the counter that has a maximum

        height of 34” (thirty-four inches) from the finished floor in

        violation of section 902.3 of the 2010 ADAAG standards.

(iii)   The interior of the “Jimmy Mac’s” portion of the Facility has

        no seating within reasonable proximity to the bar offering

        dining surfaces provided for consumption of food or drink that

        complies with section 902.2 of the 2010 ADAAG standards,

        requiring appropriate knee and toe clearance complying with

        section 306 of the 2010 ADAAG standards, positioned for a

        forward approach, in violation of section 226.1 of the 2010

        ADAAG standards.

(iv)    The “Jimmy Mac’s” portion of the Facility lacks restrooms


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       signage in compliance with sections 216.8 and 703 of the 2010

       ADAAG standards.

(v)    The accessible toilet stall doors in the restrooms in the “Jimmy

       Mac’s” portion of the Facility are not self-closing and/or

       otherwise violate section 604.8.2.2 of the 2010 ADAAG

       standards.

(vi)   There is inadequate clear turning space in the accessible toilet

       stalls in the restrooms in the “Jimmy Mac’s” portion of the

       Facility, in violation of section 603.2.1 of the 2010 ADAAG

       standards.

(vii) The accessible toilet stalls in the restrooms in the “Jimmy

       Mac’s” portion of the Facility are missing grab bars adjacent to

       the commodes therein or otherwise do not comply with section

       604.5 of the 2010 ADAAG standards.

(viii) The hand operated flush controls on the commodes in the

       accessible toilet stalls in the restrooms in the “Jimmy Mac’s”

       portion of the Facility are not located on the open side of the

       accessible stalls, in violation of section 604.6 of the 2010

       ADAAG standards.


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(ix)   The restrooms in the “Jimmy Mac’s” portion of the Facility

       have cabinet-style sinks that provide for inadequate knee and

       toe clearance thereunder, in violation of sections 305, 306 and

       606.2 of the 2010 ADAAG standards.

(x)    The controls on the faucets in the restrooms in the “Jimmy

       Mac’s” portion of the Facility require pinching and turning of

       the wrists, in violation of section 309.4 of the 2010 ADAAG

       standards.

(xi)   The soap dispensers in the restrooms in the “Jimmy Mac’s”

       portion of the Facility are located outside the prescribed vertical

       reach ranges set forth in section 308.2.1 of the 2010 ADAAG

       standards.

(xii) The paper towel dispensers in the restrooms in the “Jimmy

       Mac’s” portion of the Facility are located outside the prescribed

       vertical reach ranges set forth in section 308.2.1 of the 2010

       ADAAG standards.

(xiii) The mirrors in the restrooms in the “Jimmy Mac’s” portion of

       the Facility exceed the maximum permissible height set forth in

       section 603.3 of the 2010 ADAAG standards.


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       (xiv) Upon exiting, the restroom doors in the “Jimmy Mac’s” portion

             of the Facility do not provide for permissible minimum

             maneuvering clearance, in violation of section 404.2.4 of the

             2010 ADAAG standards.

       31.   Without limitation, the above-described violations of the ADAAG

made it more difficult for Plaintiff to exit and re-enter his vehicle, more difficult

and dangerous for Plaintiff to traverse the ramps servicing the property, and more

difficult for Plaintiff to utilize the restroom in the “Jimmy Mac’s” portion of the

Facility.

       32.   The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facility and Property.

       33.   Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.

       34.   The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.


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      35.    All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

      36.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      37.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.

      38.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      39.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      40.    Plaintiff’s requested relief serves the public interest.

      41.    The benefit to Plaintiff and the public of the relief outweighs any


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resulting detriment to Defendant.

      42.   Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      43.   Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)   That the Court find Defendant in violation of the ADA and ADAAG;

      (b)   That the Court issue a permanent injunction enjoining Defendant from

            continuing its discriminatory practices;

      (c)   That the Court issue an Order requiring Defendant to (i) remove the

            physical barriers to access and (ii) alter the subject Facility and

            Property to make them readily accessible to, and useable by,

            individuals with disabilities to the extent required by the ADA;

      (d)   That the Court award Plaintiff’s counsel reasonable attorneys' fees,

            litigation expenses and costs; and

      (e)   That the Court grant such further relief as deemed just and equitable

            in light of the circumstances.

                                      Dated: July 16, 2020.


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                                    Respectfully submitted,

                                    /s/Craig J. Ehrlich
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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                    /s/Craig J. Ehrlich
                                    Craig J. Ehrlich




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